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 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,        )           1:07-cr-0140 OWW
                                      )           1:05-cr-0161 OWW
10                   Plaintiff,       )
                                      )           ORDER TERMINATING JUVENILE
11        v.                          )           STATUS AND FOR TRANSFER TO
                                      )           ADULT CUSTODY
12   M.R., juvenile,                  )
                                      )
13                   Defendant.       )
     ________________________________ )
14                                    )
     UNITED STATES OF AMERICA,        )
15                                    )
                     Plaintiff,       )
16                                    )
          v.                          )
17                                    )
     MARK REYES, et al.,              )
18                                    )
                     Defendants.      )
19                                    )
                                      )
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          Upon the motion of the government and the knowing and
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     voluntary waiver joined in by counsel, the juvenile, M.R.,
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     consents to the government’s motion to transfer this case for
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     adult proceedings and agrees that all further proceedings against
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     him shall be conducted under Case Number 1:05-cr-161 OWW, United
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     States v. Mark Reyes, in which he has entered a guilty plea as an
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     adult.
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 1        Pursuant to the agreement of the parties, a change of plea
 2   to a new information was entered December 12, 2007, in open
 3   court, by the former juvenile, Mark Reyes, now age 20, as an
 4   adult.
 5        IT IS ORDERED that the government’s motion to treat this
 6   Defendant, M.R., as an adult, is GRANTED.
 7        All further proceedings against the Defendant, Mark Reyes,
 8   an adult, shall be conducted in Case Number 1:05-cr-161 OWW.
 9   Juvenile case 1:07-cr-0140 OWW shall be administratively closed.
10        Under separate cover, the court has issued an order
11   transferring Defendant, Mark Reyes,’ custodial status from that
12   of juvenile custody to adult custody at the Fresno County Jail.
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14   IT IS SO ORDERED.
15   Dated: December 14, 2007                 /s/ Oliver W. Wanger
     emm0d6                              UNITED STATES DISTRICT JUDGE
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